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                              UNITED STATES DISTRICT COURT
   16                       SOUTHERN DISTRICT OF CALIFORNIA
   17
        Al Otro Lado, Inc., et al.,                    Case No.: 17-cv-02366-BAS-KSC
   18                                                  Hon. Karen S. Crawford
   19
                           Plaintiffs,
                                                       [DISCOVERY MATTER]
   20            v.
                                                       JOINT MOTION ON PLAINTIFFS’
   21   Kevin K. McAleenan,1 et al.,                   REQUEST TO COMPEL
                                                       GOVERNMENT’S TIMELY
   22                      Defendants.                 PRODUCTION OF DOCUMENTS
   23
                                                       NO ORAL ARGUMENT UNLESS
   24                                                  REQUESTED BY THE COURT
   25                                                  [Declarations of Stephen M. Medlock
   26
                                                       and Katherine J. Shinners Filed
                                                       Concurrently]
   27
        1
   28     Acting Secretary McAleenan is automatically substituted for former Secretary Nielsen pursuant
        to Fed. R. Civ. P. 25(d).
                                                                       JOINT MOTION TO COMPEL TIMELY
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                                                             JOINT MOTION TO COMPEL TIMELY
                                                                  PRODUCTION OF DOCUMENTS
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    1   I.     PLAINTIFFS’ ARGUMENT
    2          A.      INTRODUCTION
    3          Plaintiffs respectfully request that this Court enter an order compelling the
    4   Government to substantially complete its production of documents responsive to
    5   Plaintiffs’ First and Second Sets of Requests for Production on the following
    6   schedule:
    7                The Government shall substantially complete their production of
    8                  responsive, non-privileged documents from Randy Howe, Todd
    9                  Hoffman, Todd Owen, Carlos Rodrigues, and Sidney Aki on or before
   10                  September 16, 2019;
   11                The Government shall substantially complete their document
   12                  production from all remaining agreed-upon or court-ordered custodians
   13                  on or before November 1, 2019; and
   14                The Government shall disclose its privilege log on or before December
   15                  1, 2019.2
   16   Plaintiffs seek this reasonable deadline for the production of documents in response
   17   to their First and Second Sets of Requests for Production so that they can be prepared
   18   to litigate this matter, including taking key depositions, providing documents to their
   19   experts, resolving any disputes over privilege assertions, and proceeding with class
   20   certification briefing.
   21          The Government served its responses and objections to Plaintiffs’ First and
   22   Second Sets of Requests for Production on April 9 and 10, 2019. Over 4 months
   23   have passed since then, and the Government still has not provided Plaintiffs with a
   24   reasonable deadline for the substantial completion of their production of documents.
   25
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          In an effort to narrow the disputes for this Court’s adjudication, the parties have agreed that the
   26   Government will produce documents from three non-custodial sources (the Human Resources
        Business Engine (“HRBE”), Enterprise Data System (“EDS”), and the Consolidated Secondary
   27   Inspection System (“CSIS”)) on or before September 25, 2019. The Government will complete
        its production of documents from all agreed-upon non-custodial sources of documents by October
   28   23, 2019.
                                                                           JOINT MOTION TO COMPEL TIMELY
                                                                                PRODUCTION OF DOCUMENTS
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    1   In violation of Fed. R. Civ. P. 34(b)(2)(B), initially the Government refused to
    2   provide Plaintiffs with a date for the completion of its document production.
    3   Medlock Decl. ¶¶ 9-10. On June 7, 2019, the Court ordered the Government to
    4   “provide an alternate reasonable deadline for production, pursuant to Fed. R. Civ. P.
    5   34(b)(2)(B).” Dkt. 269 at 1. The Government only did so on July 3, 2019, and the
    6   deadline that the Government provided—January 31, 2020—was entirely
    7   unreasonable.    Medlock Decl. ¶ 11. On July 12, 2019, the Court held that
    8   “Defendants’ representation that they cannot complete document production for the
    9   currently negotiated custodians and non-custodial sources until January 31, 2020,
   10   after every deadline set by the Court for class related discovery and class
   11   certification, is unacceptable.” Dkt. 275 at 1.
   12         Since then, Plaintiffs have engaged in two rounds of meet-and-confers with
   13   the Government concerning the schedule for document production in response to
   14   Plaintiffs’ First and Second Sets of Requests for Production. See Medlock Decl. ¶¶
   15   21, 25. While the Government has indicated that it may be able to produce a limited
   16   set of documents prior to December 2019, the Government has refused to agree to
   17   any schedule that calls for it to substantially complete its production of custodial
   18   documents prior to December 20, 2019. Id. at ¶¶ 25-27.
   19         This December 20, 2019 deadline is unreasonable for at least two reasons.
   20   First, the Government’s already glacial production of documents combined with a
   21   schedule that allows the Government to withhold most of its document production
   22   until the eve of the Christmas and New Year’s holidays means that the parties still
   23   will not be in a position to brief class certification until at least February 2020.
   24   Second, the members of Plaintiffs’ putative class do not have the luxury of waiting
   25   over 300 days for the Government to complete its document production.
   26         The Government’s proposal for a protracted document production schedule is
   27   part of a pattern of unacceptable discovery delays. Plaintiffs delivered their First Set
   28   of Requests for Production to the Government on August 9, 2017 and delivered their
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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    1   Second Set of Requests for Production to the Government on February 19, 2019. In
    2   the 2 years since Plaintiffs delivered their First Set of Requests for Production, the
    3   Government has produced only 12,200 pages of documents. See Medlock Decl. ¶
    4   28. Indeed, it has taken the Government over 90 days to merely collect documents
    5   from the parties’ agreed upon custodians. Id. at ¶ 32. It took the Government 72
    6   days to agree to the search terms that would be applied to the Government’s
    7   documents. Id. at ¶ 33. And, despite telling Plaintiffs that it intended to utilize
    8   technology-assisted review over 48 days ago, the Government still has not
    9   adequately explained why its technology-assisted review protocol deviates from
   10   accepted standards. Id. at ¶ 31.
   11          On two occasions, this Court has noted its “concern[] with the pace of the
   12   [Government’s] engagement in discovery, including specifically document
   13   production.” Dkt. 269 at 1; see also Dkt. 275 at 1 (“the Court continues to be
   14   concerned about the slow pace of defendants’ document production”). Indeed, since
   15   the Court observed that the Government “ha[s] not devoted adequate time and
   16   resources to ensure discovery is accomplished in a timely manner,” Dkt. 275 at 1,
   17   the Government has produced only 13,967 pages of documents. Medlock Decl. at ¶
   18   28. To make matters worse, the Government has the Government has produced only
   19   270 emails and attachments from the period of April 2, 2018 to April 30, 2018 that
   20   were in the possession of six custodians. Id. The Government has not produced a
   21   single custodial document from the other eight of its agreed-upon custodians.3 Id.
   22   And the Government still has not confirmed that it has actually completed its
   23   collection of documents belonging to the custodians that the parties agreed to in May
   24   2019. Id. at ¶ 32.
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         These figures are accurate as of August 27, 2019. On August 28, 2019, the Government sent
   28   Plaintiffs a letter indicating that the Government was producing another 1,947 pages of documents.
        Plaintiffs have not yet received the DVD containing this document production.
                                                                         JOINT MOTION TO COMPEL TIMELY
                                                                              PRODUCTION OF DOCUMENTS
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    1             The conditions that asylum seekers face on the U.S.-Mexico border are rapidly
    2   deteriorating. “[A]t least 50,000 migrants who have reached the U.S. border with
    3   Mexico” have been forced to wait in towns on the Mexican side of the border. See
    4   Elliot Spagat, In Mexico, Thousands More Names Added to Border Wait Lists, AP
    5   (Aug. 8, 2019), http://bit.ly/2TgVrTk. They live in “impromptu refugee camp[s]”
    6   where “waste oozes out of the floor and sinks” and “[f]lies buzz around overflowing
    7   trash and unrefrigerated food,” all while temperatures regularly hit 100 degrees. See
    8   Molly O’Toole & Carolyn Cole, Facing Trump’s Asylum Limits, Refugees From as
    9   Far as Africa Languish in a Mexican Camp, L.A. Times                          (July 8, 2019),
   10   https://lat.ms/2XPS0Yf. For instance, in Matamoros, Mexico, on the border with
   11   Brownsville, Texas, migrants sleep outside near a Mexican migration center in the
   12   summer heat with young children:4
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            Associated Press (Aug. 1, 2019), available at http://bit.ly/2KzNfJT.
                                                                            JOINT MOTION TO COMPEL TIMELY
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   12         Due to the Government’s Turnback Policy, many of the members of the
   13   putative class are faced with a difficult choice: wait indefinitely in unsafe and
   14   unsanitary conditions outside a port of entry or attempt a life-threatening crossing
   15   into the United States between ports of entry. See Emily Green, Migrant Father
   16   Who Drowned With Daughter Was Extorted Hours Before Crossing, Vice News
   17   (July 3, 2019), http://bit.ly/30fXzNp (describing extortion that asylum seeker faced
   18   when waiting to enter a port of entry prior to deciding to cross Rio Grande River and
   19   drowning with 23-month-old daughter). The class that Plaintiffs plead and seek to
   20   represent cannot wait 304 days for a complete document production.
   21         Enough is enough. Plaintiffs requested documents from the Government
   22   months ago. Despite repeated warnings from the Court, the Government has only
   23   produced a smattering of documents and continues to propose unreasonable
   24   deadlines for the completion of its document production. The Court previously
   25   stated that “[i]f defendants continue to provide unreasonable deadlines for document
   26   production, pursuant to Fed. R. Civ. P. 34(b)(2)(B), they can anticipate the Court
   27   will take a more active role in imposing said deadlines.” Dkt. 275 at 1-2. Plaintiffs
   28   respectfully request that the Court do so and order that the Government produce
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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    1   documents according to the schedule set forth in page 1 of this motion.
    2         B.     THE GOVERNMENT’S DELAYED DOCUMENT
    3                COLLECTION, REVIEW, AND PRODUCTION
    4         Plaintiffs delivered their First Set of Requests for Production to the
    5   Government pursuant to Fed. R. Civ. P. 26(d)(2) on August 9, 2017. Medlock Decl.
    6   ¶ 4. After this case was transferred from the Central District of California to this
    7   Court and this Court lifted the stay on discovery, see Dkt. 113, 202, Plaintiffs re-
    8   delivered their First Set of Requests for Production on February 19, 2019. Medlock
    9   Decl. ¶ 4. On the same day, Plaintiffs delivered their Second Set of Requests for
   10   Production to the Government. Id. ¶ 5.
   11         On April 9 and 10, 2019, the Government served its responses and objections
   12   to these requests for production. Medlock Decl. ¶ 6. The Government’s responses
   13   and objections did not state when the Government would produce documents
   14   responsive to these requests. Id.
   15         Since April 10, 2019, the parties have engaged in extensive negotiations
   16   concerning the scope of discovery, custodians, non-custodial sources, and search
   17   terms. Medlock Decl. ¶ 7.      While these negotiations have, at times, resulted in
   18   impasses that require this Court’s intervention, see Dkt. 251, the parties have reached
   19   significant agreements on 14 custodians, 8 non-custodial sources, and over 150
   20   search terms. Id.
   21         On June 7, 2019, the Court convened a joint status conference regarding the
   22   parties’ progress in producing discovery in this case. Dkt. 267. During the joint
   23   status conference, the Government asserted that its document production had been
   24   delayed due to resource and technological constraints. Medlock Decl. ¶ 8. The
   25   Court stated that it did not “buy” these arguments. Id. The same day, the Court
   26   issued its Order Following Status Conference and Setting Further Status Conference.
   27   Dkt. No. 269. In its order, the Court stated, in part: “[T]he Court is concerned with
   28   the pace of defendants’ engagement in discovery, including specifically document
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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    1   production. Defendants are expected to devote adequate time and resources to
    2   ensure discovery is accomplished in a timely manner and, when they are unable to
    3   produce documents within the timeframe set forth in [P]laintiffs’ Request for
    4   Production, to provide an alternate reasonable deadline for production, pursuant to
    5   Fed. R. Civ. P. 34(b)(2)(B).” Id. at 1.
    6         On June 11, 2019, the Government wrote to Plaintiffs via email, stating that
    7   the Government would begin its document production on July 3, 2019 and make
    8   rolling document productions every four weeks thereafter. Medlock Decl. ¶ 9.
    9   Plaintiffs responded by noting that Rule 34(b)(2)(B) requires the Government to
   10   state the end date of its document production. Id.
   11         Later the same day, the parties held a telephonic meet-and-confer. Id. ¶ 10.
   12   During that meet-and-confer, the Government informed Plaintiffs that it did not
   13   anticipate completing its document production until January 2020.           Id.     The
   14   Government stated that it would take until January 2020 to complete its document
   15   production because of the Government’s asserted technological limitations, resource
   16   constraints, and the burden associated with completing a privilege log. Id. During
   17   this telephonic meet-and-confer, Plaintiffs told the Government that the
   18   Government’s proposed schedule for producing documents was unacceptable, and
   19   the parties noted that they were at an impasse on this issue. Id.
   20         Because the Government did not provide a date certain for the completion of
   21   its document production, Plaintiffs requested a second telephonic meet-and-confer
   22   on July 3, 2019. Id. ¶ 11. In email correspondence prior to that conference, the
   23   Government stated that its document review would be complete on January 31, 2020.
   24   Id. During the parties’ telephone conference, Plaintiffs and the Government agreed
   25   that they were at an impasse concerning whether the Government would complete
   26   its document production by October 1, 2019. Id.
   27         Separately, on July 3, 2019, the Government made its first production of
   28   documents responsive to Plaintiffs’ First and Second Sets of Requests for
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   Production. Medlock Decl. ¶ 11. The Government has indicated that it anticipates
   2   producing documents every four weeks on a rolling basis. Id.
   3         The parties met and conferred one final time by telephone on July 10, 2019,
   4   in an effort to avoid motion practice and to better understand each other’s position.
   5   Medlock Decl. ¶ 13. The Government maintained that it cannot complete its
   6   production of documents until January 31, 2020. Id. But perhaps just as concerning
   7   as the Government’s position was the Government’s newly articulated reason. In
   8   addition to the Government’s well-worn excuse that it does not have enough
   9   resources for various litigation-related tasks, the Government has informed Plaintiffs
  10   that the Government’s document collection and processing itself is proceeding more
  11   slowly than expected. Id. For example, on July 10, 2019, the Government stated
  12   that there are “many buckets” of documents that it has yet to collect and process, let
  13   alone review or produce. Id. Specifically, the Government stated that as of July 10,
  14   it had collected and processed documents from only 6 of the 14 agreed-upon
  15   custodians for a limited time period, which is both surprising and concerning this far
  16   into document discovery. Id.
  17         On July 12, 2019, the Court held a joint status conference concerning,
  18   amongst other things, the pace of the Government’s document discovery and the
  19   Government’s proposed January 31, 2020 deadline for the completion of document
  20   discovery. Medlock Decl. ¶ 14. Following the joint status conference, the Court
  21   ruled: “Defendants’ representation they cannot complete document production for
  22   the currently negotiated custodians and non-custodial sources until January 31, 2020,
  23   after every deadline set by the Court for class related discovery and class
  24   certification, is unacceptable.” Dkt. 275 at 1. The Court noted that “[i]f defendants
  25   continue to provide unreasonable deadlines for document production, pursuant to
  26   Fed. R. Civ. P. 34(b)(2)(B), they can anticipate the Court will take a more active role
  27   in imposing said deadlines.” Id. at 1-2.
  28         Following this ruling, on July 15, 2019, Plaintiffs wrote to the Government,
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   proposing the Government complete its production of documents by October 1,
   2   2019. Medlock Decl. ¶ 16. On July 17, 2019, the Government rejected this proposal,
   3   but failed to propose an alternate deadline for its document production. Id. at ¶ 17.
   4   The same day, Plaintiffs wrote to the Government asking for the Government
   5   provide a date certain by which the Government’s document production would be
   6   complete. Id. at ¶ 18. On July 19, 2019, the Government responded that it would
   7   not be able to complete its document production until December 20, 2019. Id. at ¶
   8   19. However, the Government stated that its December 20, 2019 proposal was “an
   9   estimate” and that it was subject to change. Id. at ¶ 19.
  10         On July 25, 2019, the parties held a telephonic meet-and-confer regarding the
  11   proposed deadline for the substantial completion of the Government’s document
  12   production. Medlock Decl. ¶ 21. The parties were unable to come to an agreement
  13   regarding the deadline for the Government’s document production. Id. However,
  14   the Government indicated that it may be able to agree to a document production
  15   schedule with staggered document production deadlines. Id.
  16         On July 30, 2019, Plaintiffs proposed a document production schedule with
  17   staggered deadlines for document production. Medlock Decl. ¶ 22. Under this
  18   proposal, the Government would produce documents from five priority custodians
  19   (Randy Howe, Todd Hoffman, Todd Owen, Carlos Rodriguez, and Sidney Aki) by
  20   September 6, 2019. Id. The Government would then complete its production of
  21   documents from priority non-custodial sources, including the Government’s HBRE
  22   and EDS systems, by September 20, 2019. Id. The Government would then
  23   complete its document production from all other non-custodial sources by October
  24   4, 2019. Id. Finally, the Government would complete its document production by
  25   October 25, 2019. Id.
  26         On August 2, 2019, the Government rejected Plaintiffs’ proposed document
  27   production schedule. Medlock Decl. ¶ 23. Notably, the Government stated that it
  28   could not agree to produce documents from Plaintiffs’ proposed priority custodians
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   because “we are still in the process of collecting and/or uploading emails from some
   2   of these custodians.” Id. This was particularly disturbing because the Government
   3   originally proposed these custodians on May 6, 2019. Id. at ¶ 32. The Government
   4   offered no reason why it has taken over 90 days to merely collect these documents.
   5   Id. at ¶ 23.
   6          On August 12, 2019, the parties meet and conferred via telephone for a second
   7   time concerning the deadline for the Government’s production of documents.
   8   Medlock Decl. ¶ 25. During the meet-and-confer, Plaintiffs proposed the document
   9   production schedule set forth on the first page of this motion to the Government. Id.
  10   The Government rejected this proposal as well and continued to assert that it could
  11   not complete its document production until December 20, 2019. Id. at ¶¶ 25-27.
  12          C.      THE GOVERNMENT SHOULD SUBSTANTIALLY
  13                  COMPLETE ITS DOCUMENT PRODUCTION BY
  14                  NOVEMBER 1, 2019
  15          Rule 37 permits a party to compel the production of documents and
  16   electronically-stored information where “a party fails to produce documents . . . as
  17   requested under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B)(iv). Rule 34(b)(2)(B) requires
  18   the party responding to a request for production to “state that it will produce copies
  19   of documents or of electronically stored information instead of permitting
  20   inspection.” When a party does so, “[t]he production must then be completed no
  21   later than the time for inspection specified in the request or another reasonable time
  22   specified in the response.” Fed. R. Civ. P. 34(b)(2)(B). The 2015 Advisory
  23   Committee Notes to Rule 34 state, in pertinent part: “When it is necessary to make
  24   the production in stages the response should specify the beginning and end dates of
  25   the production.” Fischer v. Forrest, 2017 U.S. Dist. LEXIS 28102, at *24 (S.D.N.Y.
  26   2017) (quoting 2015 Advisory Committee Notes).
  27          Plaintiffs’ proposed timetable for the Government’s document production is
  28   reasonable. The period from July 3, 2019 (the date that the Government began its
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   document production) to November 1, 2019—comprising 84 business days—is
   2   sufficient time for the Government to substantially complete its document
   3   production in response to Plaintiffs’ First and Second Sets of Requests for
   4   Production. Courts have ruled that time periods of far less than 84 business days
   5   comprise a “reasonable time” for the production of documents. See, e.g., Qualcomm
   6   Inc. v. Apple, Inc., 2019 U.S. Dist. LEXIS 23760, at *21 (S.D. Cal. 2019) (ordering
   7   production of all documents within 14 days); Maiorano v. Home Depot USA, Inc.,
   8   2017 U.S. Dist. LEXIS 176287, at *7 (S.D. Cal. 2017) (compelling production of
   9   documents in response to four requests “no later than 14 days from the date of this
  10   Order” in a product liability case).5 Qualcomm Inc. v. Apple, Inc. is instructive.
  11   2019 U.S. Dist. LEXIS 23760, at *21. In that case, Apple requested that Qualcomm
  12   produce all documents related to the negotiation, terms, and payment provisions of
  13   Qualcomm’s license agreements for certain patented technologies. Id. Qualcomm
  14   did not object to producing these documents, but it did not provide a date certain for
  15   its document production either. Id. Qualcomm represented to the district court that
  16   it was “working expeditiously” to produce the documents, but that its document
  17   production would be delayed by “third-party notice and consent obligations.” Id.
  18   Citing Rule 34(b)(2)(B), the district court determined that “[t]his is just not good
  19   enough.” Id. (internal quotation marks omitted). The district court ordered that
  20   Qualcomm complete this lengthy document production “no later than 14 days from
  21   the date of this Order.” Id.
  22          Here, Plaintiffs are asking for the Government to produce documents on a far
  23   less stringent timeline than was ordered in Qualcomm. Where Qualcomm was
  24   ordered to produce extensive documents related to negotiations and licensing
  25
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  26    See also In re NC Swine Farm Nuisance Litig., 2016 WL 3661266, at *2 (E.D.N.C. 2016) (rolling
       document production that would be “fully completed within thirty days” was “appropriate under
  27   Rule 34(b)(2)(B)” (internal quotation marks omitted)); Obesity Res. Inst., LLC v. Fiber Res. Int’l,
       LLC, 2016 WL 9049608, at *1-2 (S.D. Cal. 2016) (noting that third party “has now had three
  28   months to produce the requested documents” and ordering that documents should be produced
       within 10 days).
                                                                         JOINT MOTION TO COMPEL TIMELY
                                                                              PRODUCTION OF DOCUMENTS
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   1   agreements for several patents in two weeks, Plaintiffs ask only that the Government
   2   complete its document production in 84 business days.
   3          Moreover, the Government’s estimate that it may still take up to 3,400 hours
   4   to complete its document review (see Parties’ July 8, 2019 Joint Status Conference
   5   Statement at 13) is entirely consistent with completing a document review on or
   6   before October 1, 2019. Starting on July 3, 2019, a team of 20 document reviewers
   7   could complete a 3,400 hour document review by August 7, 2019.6 Similarly, a team
   8   of 10 document reviewers could complete a 3,400 hour review by September 6,
   9   2019.7 Indeed, even a document review team with as few as 7 document reviewers
  10   would allow the Government to complete its document review by September 30,
  11   2019.8 Therefore, the Government’s ability to substantially complete its document
  12   production in response to Plaintiffs’ First and Second Sets of Requests for
  13   Production is a matter entirely within the Government’s control. The Government
  14   simply needs to devote adequate resources to completing its document review.
  15          Certainly, the Government has never explained why it needs 117 business
  16   days (between July 3, 2019 and December 20, 2019) to substantially complete its
  17   document production. Nor has the Government provided any reason why it should
  18   benefit from its lengthy delay—over 90 days⸺in collecting documents from agreed-
  19   upon custodians. This lengthy document production timetable is not reasonable
  20   given the dangers that members of the proposed class face. As temperatures rise,
  21   sanitation and health conditions worsen, and waits at ports of entry become
  22   interminable, class members cannot wait for the Government to complete its
  23   document production at a glacial pace. See, e.g., Elliot Spagat, et al., For Thousands
  24   of Asylum Seekers, All They Can Do Is Wait, Associated Press (May 9, 2019),
  25
       6
         3,400 hours divided by 160 total hours of document review per day would allow the Government
  26   to complete its document review in 21.25 days.
       7
         3,400 hours divided by 80 total hours of document review per day would allow the Government
  27   to complete its document review in 42.5 business days.
       8
  28     3,400 hours divided by 56 total hours of document review per day would allow the Government
       to complete its document review in 60.7 business days.
                                                                      JOINT MOTION TO COMPEL TIMELY
                                                                           PRODUCTION OF DOCUMENTS
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   1   http://bit.ly/2YHM01c (describing asylum seekers that “sleep in tents next to bridges
   2   leading to Texas for weeks on end” who are subject to “shakedowns and kidnappings
   3   by gangs and corrupt officials”).
   4         D.     THE      GOVERNMENT’S             COUNTERARGUMENTS                  ARE
   5                UNAVAILING
   6         1.     The Government has the resources to review and produce a large
   7   number of documents. Below, the Government provides a prolix discussion of its
   8   document collection and review process and string cites—all of which are in service
   9   of a single argument: discovery takes time, the Government does not have unlimited
  10   resources, and the attorneys involved in this case have other matters to attend to.
  11   Infra at 17-31. Importantly, this is precisely the same argument that the Government
  12   has made, and this Court has rejected, at two prior joint status conferences. See Dkts.
  13   269, 275.
  14         The Government’s recycled argument fares no better here. The Government
  15   provides no valid justification for why, over 3 months after the parties agreed on the
  16   Government’s document custodians, the Government still have not collected
  17   documents from all 14 custodians. The Government also does not deny that its
  18   estimated 3,400 hour document collection could be completed well before
  19   November 1, 2019 if the Government devoted as few as 7 full-time document
  20   reviewers to its document review in this case. And, importantly, the Government
  21   never states that it would not comply with an order requiring it to complete its
  22   document production by November 1, 2019.
  23         The Court has already stated that it does not “buy” the Government’s
  24   arguments regarding technological and resource constraints. Medlock Decl. ¶ 8.
  25   Moreover, the Court has directed the Government to “devote adequate time and
  26   resources to ensure discovery is accomplished in a timely manner.” Dkt. 269 at 1.
  27   This Court is not alone in doing so. In other immigration cases the Government has
  28   been criticized for failing to produce documents in a timely manner. See, e.g.,
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   Hernandez v. Sessions, Case No. 5:16-cv-00620-JGB-KK, slip op. at 2 (C.D. Cal.
   2   July 10, 2018) (Dkt. 195) (“[T]he production of responsive documents by [the
   3   Government] has been neither complete nor prompt. It has been a trickle.”). In
   4   those cases, the Government was “strongly advised . . . that [it] should immediately
   5   hire additional staff and technical personnel to promptly review documents to assure
   6   a more complete and prompt production of documents.” Id.
   7         Despite being ordered to “devote adequate time and resources to ensure
   8   discovery is accomplished in a timely manner,” Dkt. 269 at 1, and despite this not
   9   being the first time that the Government has been ordered to do so in immigration
  10   litigation, the Government has not done so. The Government acknowledges that as
  11   early as February 2019 that discovery in this case would be complex and would take
  12   time. See infra at 18. However, the Government did not take the steps necessary to
  13   prepare for this document review. The Government still has not completed its
  14   document collection. Infra at 23. The Government only has approximately 20 part-
  15   time attorneys devoted to discovery in this matter (and the Government does not
  16   define what “part-time” means). Infra at 27. Tellingly, the Government admits that
  17   it has been able to assign up to 35 attorneys to review documents in similar
  18   immigration litigation, but offers no reason why it has not done so in this case. Falk
  19   Decl. ¶ 10.
  20         The Government’s delay in collecting, reviewing, and producing documents
  21   is unacceptable. The Government has the resources to complete its document
  22   production in a timely manner. With as few as 7 full-time document reviewers, the
  23   Government can complete its document review prior to November 1, 2019. Supra
  24   at 7. The Government merely needs to devote these reasonable resources to
  25   completing its document production in response to Plaintiffs’ First and Second Sets
  26   of Requests for Production.
  27         2.      The Government’s previously undisclosed factual declarations do
  28   not change this Court’s analysis. On August 28, 2019 at 11:12pm (ET), the
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   Government provided Plaintiffs with its section of this joint motion. Accompanying
   2   the draft of the joint motion were the declarations of Scott Falk, Katherine Shinners,
   3   and Gisela Westwater. The Shinners and Falk declarations contain new facts that
   4   were not previously disclosed to Plaintiffs during several meet-and-confers
   5   concerning the Government’s document collection and production efforts. Ms.
   6   Shinners’ declaration contains a list of the number of email messages that the
   7   Government has collected from its agreed-upon custodians that was not previously
   8   disclosed to Plaintiffs. See Shinners Decl. ¶ 22. The Government never disclosed
   9   the possibility that it would attach a declaration from Mr. Falk to this joint motion.
  10   Mr. Falk’s declaration contains previously undisclosed facts concerning other e-
  11   discovery efforts that CBP is currently undertaking in other cases and other demands
  12   on the time of CBP’s document review attorneys. See Falk Decl. ¶¶ 11, 14-15, 17.
  13         This conduct is inappropriate. Plaintiffs have already been forced to move to
  14   strike previously undisclosed factual declarations that the Government attempted to
  15   append to joint motions at the last minute. See Dkt. 268. On August 1, 2019, the
  16   Court warned the parties to be certain to “fully discuss the factual basis” for their
  17   joint motions. See Dkt. 279 at 2. The Government has ignored the Court’s guidance
  18   by attempting to sandbag Plaintiffs by providing these facts at the last minute.
  19         At any rate, these declarations add nothing of substance to the Government’s
  20   arguments. At best, they state that document discovery is time-consuming, the
  21   Government does not have infinite resources to review documents, and the attorneys
  22   working on this matter has competing priorities. The Government has made these
  23   arguments many times before, and nearly every defendant in civil litigation can
  24   make the same excuses. The Court has already noted that it does not “buy” these
  25   arguments, Medlock Decl. ¶ 8, and the Government’s recitation of the same
  26   arguments does nothing to change the Court’s prior conclusion. See, e.g., Carr v.
  27   United States, 560 U.S. 438, 462 (2010) (Alito, J. dissenting) (“A bad argument does
  28   not improve with repetition.”).
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1          3.     The Government’s “no prejudice” argument strains credulity.
   2   Faced with numerous contemporaneous accounts and photos showing the human toll
   3   of the Government’s lackadaisical document collection and production, the
   4   Government remarkably claims that its delays “do[] not prejudice Plaintiffs.” Infra
   5   at 34. Therefore, the Government suggests that Plaintiffs should simply accept the
   6   Government’s December 20, 2019 document production deadline and put off class
   7   certification briefing and expert reports until 2020. But, as discussed above, this
   8   case involves extremely vulnerable people living in unsanitary and unsafe
   9   conditions, without access to employment or medical resources due to the
  10   Government’s turnback policy. Supra at 4-5.9 Contrary to the Government’s belief,
  11   the Government’s continued delays have real and serious consequences for these
  12   individuals. See Emily Green, Migrant Father Who Drowned With Daughter Was
  13   Extorted Hours Before Crossing, Vice News (July 3, 2019), http://bit.ly/30fXzNp
  14   (describing extortion that asylum seeker faced when waiting to enter a port of entry
  15   prior to deciding to cross Rio Grande River and drowning with 23-month-old
  16   daughter). The Government’s argument simply does not pass the laugh test.
  17          E.     CONCLUSION
  18          The Government’s sluggish document production is not reasonable and,
  19   therefore, violates Fed. R. Civ. P. 34(b)(2)(B). Plaintiffs respectfully request that
  20   the Court order the Government to substantially complete its production of
  21   documents responsive to Plaintiffs’ First and Second Sets of Requests for Production
  22   based on the parties’ currently agreed-upon custodians, non-custodial sources, and
  23   search terms according to the schedule set forth on the first page of this joint motion.
  24

  25
       9
         In a footnote below (infra at 35 n.13), the Government attempts to whitewash its conduct by
  26   claiming that asylum seekers are routinely inspected at Ports of Entry. This is not true. The
       Government has turned back thousands of asylum seekers that are living in makeshift conditions
  27   in border towns on the U.S.-Mexico border. In just one of these border towns, Tijuana, at least
       10,000 asylum seekers are waiting 6 to 9 months to be inspected and processed at the San Ysidro
  28   Port of Entry. See Robert Strauss Center for Int’l Sec. & Law, Univ. of Tex., Metering Update, 4
       (Aug. 2019), http://bit.ly/2KPHnNU.
                                                                       JOINT MOTION TO COMPEL TIMELY
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   1   II. DEFENDANTS’ ARGUMENT
   2   A.   INTRODUCTION
   3         Plaintiffs’ motion and proposed production deadlines gloss over several
   4   realities of the manner in which discovery in this case has proceeded. Their proposed
   5   deadlines are also unrealistic and unreasonable in light of the extremely large volume
   6   of documents subject to collection and review and Defendants’ finite resources.
   7   Despite those finite resources, Defendants have nonetheless made, and continue to
   8   make, substantial efforts to provide responsive, nonprivileged documents to
   9   Plaintiffs as quickly as possible while keeping Plaintiffs apprised of the status of the
  10   collection and processing of documents. Defendants’ frequent, rolling productions
  11   of documents have included, contrary to Plaintiffs’ assertions, ESI from various
  12   custodians, the individual Plaintiffs’ A files and related documents, congressional
  13   testimony, and record retention policies and schedules. Defendants have agreed to
  14   make productions at least every four weeks and, where feasible, have agreed to
  15   interim deadlines to complete production of particular categories of documents.
  16   Indeed, contrary to Plaintiffs’ representation, Defendants have no intention of
  17   “withholding most of [their] document production” until their projected December
  18   20, 2019, substantial completion date. Accordingly, it is not reasonable or necessary
  19   to order the aggressive production deadlines Plaintiffs seek, and the Court should
  20   deny Plaintiffs’ motion in its entirety.
  21         Plaintiffs accuse Defendants of delay but fail to acknowledge that Defendants
  22   have devoted substantial resources to negotiating the scope of discovery and
  23   litigating discovery disputes. Since the time Defendants served their responses and
  24   objections to Plaintiffs’ first two sets of document requests on April 9, 2019,
  25   Defendants have agreed to provide expansive discovery and have actively and timely
  26   engaged and cooperated with Plaintiffs with respect to their obligations under the
  27   ESI protocol and the federal and local rules. During this time period, in addition to
  28   devoting substantial time and effort to negotiating the scope of discovery with
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   Plaintiffs, Defendants responded to a third set of Requests for Production, two sets
   2   of Interrogatories, and one set of Requests for Admission; and briefed oppositions
   3   to three discovery motions, including the instant motion and an opposition to
   4   Plaintiffs’ motion to strike Defendants’ declarations. During this time period,
   5   Defendants also argued their motion to dismiss and answered a 304-paragraph
   6   complaint. Plaintiffs also recently served a Fourth Set of Requests for Production to
   7   which responses are due on September 13.
   8         These diversions of Defendants’ already-strained litigation resources aside,
   9   the sheer volume of documents that Defendants are reviewing for potential
  10   production—projected at hundreds of thousands of documents—counsels against
  11   setting the deadlines Plaintiffs demand. In particular, Plaintiffs’ request that the
  12   Court set a seemingly-arbitrary deadline of September 16, 2019 for substantial
  13   completion of document production from their five recently-identified “priority”
  14   custodians is not feasible due to the nature of Defendants’ technology-assisted
  15   responsiveness review, the status of Defendants’ collection and processing of
  16   documents for review, and Defendants’ limited resources. Plaintiffs’ demands
  17   disregard the effort and time required for production, including the time required to
  18   accurately review documents for privileged or confidential information. Plaintiffs
  19   appear to labor under the misconception that the United States Government has
  20   bottomless resources and innumerable personnel to exploit those purported
  21   resources. The Government must operate within various constraints on time, money,
  22   and personnel, including balancing the demands of other litigation and operational
  23   missions.
  24         Defendants are nonetheless working with Plaintiffs to prioritize review and
  25   production from certain sources. Defendants are making progress with collection,
  26   review, and production. Defendants have implemented technology-assisted review
  27   to streamline their review and expect to continue to increase their production output
  28   over the next two months. While Defendants will not be able to substantially
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   complete production from the 22 different custodians and non-custodial sources until
   2   December 20, 2019, they are devoting substantial resources to collection and review
   3   and will continue to produce as much as they are able from all sources on a rolling
   4   basis. However, a November 1 deadline for substantial completion of production
   5   from the hundreds of thousands of documents subject to review is neither reasonable
   6   nor feasible, nor is Plaintiffs’ recently-requested interim September 16 deadline
   7   from certain of those sources. Accordingly, the Court should decline at this time to
   8   enter any deadline for substantial completion of document production in response to
   9   Plaintiffs’ First and Second Sets of Requests for Production, let alone Plaintiffs’
  10   unrealistic proposed deadlines.
  11   B.   THE PARTIES’           NEGOTIATIONS            REGARDING          DOCUMENT
  12         DISCOVERY
  13         The parties met and conferred as required by Federal Rule of Civil Procedure
  14   26(f) on February 22, 2019. Declaration of Katherine J. Shinners, Ex. 1, Declaration
  15   of Gisela A. Westwater in Opposition to Motion to Strike (Westwater Decl.) ¶ 3. At
  16   that conference, and during subsequent discovery-planning conferences and in their
  17   portions of the Parties’ Joint 26(f) report, Defendants made clear that they did not
  18   have the resources to litigate discovery disputes and proceed with full discovery at
  19   the same time. See Westwater Decl. ¶¶ 3 (declaring that Defendants stated at that
  20   conference that, if Plaintiffs were not willing to agree to Defendants’ targeted
  21   discovery proposal, Defendants would require approximately one year from the
  22   conclusion of RFP-related motions practice to complete their collection, review, and
  23   production of documents), 6 (discussing the competing demands on government
  24   litigation resources and that “Defendants simply do not have the resources to be
  25   moving on all fronts at the same time – reviewing and producing while objecting
  26   and litigating”).
  27         The parties also negotiated an ESI Protocol that built in time for the parties to
  28   reasonably negotiate custodians and search terms. ESI Protocol § II(B)-(C) (ECF

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   1   No. 277) at pp. 3-4. Pursuant to that protocol, the parties agreed that after a party
   2   serves responses to requests for document production, the parties would then
   3   negotiate custodians, non-custodial sources, and search terms to be applied to narrow
   4   the universe of documents for review; this negotiation would take place over a period
   5   of up to 56 calendar days. ESI Protocol § II(B)-(C) at pp. 3-4. Defendants made
   6   clear during the negotiations of this ESI Protocol that they were concerned with the
   7   cost and time needed to process documents for review.             As they explained,
   8   Defendants “would like to maintain flexibility to use search terms to *collect*
   9   documents. Collecting and processing documents prior to applying search terms
  10   could result in undue expense.” Westwater Decl. ¶ 8. Accordingly, Defendants
  11   expressly reserved the right to use search terms to narrow the field of documents for
  12   collection and processing, rather than applying search terms only after documents
  13   have been collected and processed. Defendants also advised Plaintiffs that the “time
  14   and cost of processing” was an issue that made it necessary for them to use a sample
  15   of documents (rather than the full universe of documents that would be subject to
  16   review) to conduct search-term testing and analysis. Westwater Decl. ¶ 9. Finally,
  17   the ESI Protocol left open the possibility for either party to rely on Technology-
  18   Assisted Review. ESI Protocol § III at p. 6.
  19         Defendants responded to Plaintiffs’ First and Second Sets of Requests for
  20   Production on April 9, 2019. Shinners Decl. ¶ 5. Defendants then proceeded to
  21   work with Plaintiffs to negotiate the parameters of their search for documents in
  22   response to those requests in accordance with the ESI Protocol timelines. On April
  23   23, 2019, Defendants identified 10 custodians and 4 non-custodial sources for
  24   collection. Id. ¶ 5. On May 6, 2019, after conferring with Plaintiffs, Defendants
  25   added 4 more custodians and 4 more non-custodial sources. Id. ¶ 8. On May 20,
  26   2019, Defendants disclosed their proposed search terms and how they would be
  27   applied to the various data sources. Id. ¶ 9. Defendants also disclosed on May 20,
  28   2019, that, in accordance with the ESI Protocol, they would be using a sample of six
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   custodians’ emails to test those search terms and to generate a report showing the
   2   number of documents on which each search term “hit” in that sample. Id. ¶ 9. On
   3   May 24, 2019, Defendants provided Plaintiffs with their hit report. Id. ¶ 10. The
   4   parties then proceeded to negotiate search terms over the next two months. Id. ¶¶ 11-
   5   20). When the parties completed negotiation of search terms on July 31, 2019, there
   6   were 202 agreed-upon search terms. Id. ¶ 20. Plaintiffs have also indicated at
   7   various points that they will seek to augment the list of search terms based on the
   8   outcome of their motion with respect to the First and Second Set of Requests for
   9   Production, or based on certain new requests set forth in their Third Set of Requests
  10   for Production. Id. ¶¶ 14, 21.
  11         Although Defendants had planned to save cost by waiting to finalize search
  12   terms to narrow the universe of documents before processing and uploading those
  13   documents to the review platform, the nature of the search term negotiations and
  14   discovery disputes rendered that plan impossible. Shinners Decl. ¶ 14. Defendants
  15   thus proceeded in June 2019 with collecting and processing, on a rolling basis,
  16   documents spanning the entire relevant time period from a variety of different
  17   custodians without any search-term limitations, to ensure collection of the entire
  18   potential universe of documents for review. See Id. ¶¶ 14, 44.
  19         Given the broad discovery parameters and the government’s finite resources,
  20   Defendants initially proposed January 31, 2020, as the date for completion of their
  21   document production. Shinners Decl. ¶ 43. On July 19, 2019, before search-term
  22   negotiations were completed, Defendants provided Plaintiffs with a revised date of
  23   December 20, 2019, for substantial completion of its document production, based
  24   on the then-agreed-upon search terms and custodians.            Shinners Decl. ¶ X.
  25   Defendants provided this date based on projections of the volume of documents for
  26   review and the amount of time needed to review documents for privilege and
  27   confidentiality. The number and breadth of search terms—and the number of
  28   documents that hit on the search terms—has only increased since that time. See
                                                                  JOINT MOTION TO COMPEL TIMELY
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   1   Shinners Decl. ¶¶ 18-20.
   2         On July 26, 2019, after the parties further met and conferred regarding the
   3   deadline for Defendants’ document production, Defendants proposed a phased
   4   production schedule whereby Defendants agreed to substantial completion of
   5   documents from certain non-custodial sources—which will not be subject to Active
   6   Learning—by interim deadlines. Shinners Decl. ¶¶ 54-55. Defendants offered those
   7   interim deadlines “to try to find some area of agreement and to provide more
   8   certainty to Plaintiffs as to when production from particular sources could be
   9   completed.” Shinners Decl. ¶ 55. On July 30, 2019, Plaintiffs made a counter-
  10   proposal and, for the first time, identified five custodians for prioritization (Randy
  11   Howe, Todd Hoffman, Todd Owen, Carlos Rodriguez, and Sidney Aki); Plaintiffs’
  12   proposal sought agreement to completion of document production from those
  13   custodians by September 6, 2019. Id. ¶ 56.10 On August 2, 2019, Defendants
  14   explained that they could not agree to this September 6 deadline, because they were
  15   still in the process of collecting emails from some of these five custodians. Id. ¶ 57.
  16   Defendants also explained that they could not agree to a hard deadline at this time
  17   for the production of these custodians’ data, because that data is part of the Active
  18   Learning review, as described more fully below, and Defendants are not yet sure
  19   when the Active Learning project will be complete; further, responsive documents
  20   also must go through privilege and confidentiality review before they are produced.
  21   Id. ¶ 57. Defendants stated, however, that they can prioritize privilege review of
  22

  23   10
         Because Defendants are collecting and processing documents on a rolling basis,
       Defendants previously invited Plaintiffs to identify particular custodians or non-
  24
       custodial sources that they wished to prioritize. See Shinners Decl. ¶¶ 47, 49-50.
  25   On July 10, 2019, Defendants specifically advised Plaintiffs of the status of the
       collection of emails from the 14 custodial sources and invited Plaintiffs to identify
  26
       particular custodians on which Defendants could focus more resources. Id. ¶ 50.
  27   Plaintiffs did not do so, but instead stated that Defendants should be the one to
       identify sources for prioritization. Id. ¶ 49.
  28

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   1   these custodians’ documents over those from other custodians. Id. ¶ 57. On August
   2   15, 2019, Defendants reiterated that they can prioritize privilege and confidentiality
   3   review for these five custodians. Id. ¶ 58.
   4 C.      DEFENDANTS’  DOCUMENT     REVIEW  PROCESS                                  AND
   5         TECHNOLOGY-ASSISTED REVIEW PROTOCOL.
   6         Defendants have been moving forward with rolling collection and review of
   7   ESI and hard copy documents from 22 different custodians and non-custodial
   8   sources.   Defendants are collecting and loading documents onto their review
   9   platform on a rolling basis to provide discovery to Plaintiffs as soon as possible, and
  10   have already made numerous productions to Plaintiffs – including three productions
  11   containing ESI from various custodians.
  12         1. Status of Collection and Upload to Review Platform
  13         Defendants have agreed to collect ESI from 14 custodians. Shinners Decl. ¶¶
  14   6-8, 14 & Ex. 2, Declaration of Scott Falk (Falk Decl.) ¶ 4. As of the date Plaintiffs
  15   served their portion of this motion, Defendant CBP had collected emails from all 14
  16   custodians. Id. ¶ 22. This collection amounts to almost 3 million email messages.11
  17   Id. ¶ 22. Defendants have processed and begun review on emails from 8 of these
  18   custodians.12 Id. ¶ 24.
  19         As of August 28, 2019, Defendants have uploaded onto their review platform
  20
       This figure counts email families, and does not include each individual member
       11

  21 of that email family. Shinners Decl. ¶ 22. Defendants have been transparent and
  22 have disclosed the volume of messages collected over the course of discovery; this
     overall figure was specifically disclosed to Plaintiffs via letter on August 22, 2019.
  23 Id.

  24   As Defendants advised Plaintiffs on July 2, 2019, Defendants have experienced
       12


  25
     delays in the processing and preparation of documents for review due to the high
     volume of documents and the corresponding time needed to process those
  26 documents to prepare them for review on Defendants’ review platform. Shinners

  27 Decl. ¶ 44. Defendants further explained the status of their document collection and
     processing at the parties’ meet and confer on July 10, 2019. Id. ¶ 50.
  28

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   1   the following emails: (1) emails from the full time range (January 1, 2016 to the date
   2   of collection) for headquarters custodians Todd Hoffman, Bryan Molnar, Randy
   3   Howe, and Luis Mejia and field custodians David John Gonzalez, Andres Guerra,
   4   Pete Romero Flores, and Alberto Flores; and (2) emails from the time range of April
   5   1 to April 30, 2018, for field custodians Mariza Marin and David Higgerson.
   6   Shinners Decl. ¶ 24. Emails from the remaining custodians are being processed and
   7   will be uploaded to Defendants’ document review platform once processing is
   8   complete. See id. ¶ 25.
   9          Defendants are also currently processing documents from the following three
  10   non-custodial sources: disciplinary case files from CBP’s Human Resources
  11   Business Engine; documents from the Shared Drive of the DHS Office of Inspector
  12   General (OIG); and investigatory files from DHS OIG’s Enterprise Data System.
  13   See Shinners Decl. ¶ 25.        Defendants are collecting potentially responsive
  14   documents, if any from the five remaining non-custodial sources, as well as
  15   potentially responsive non-email documents from the 14 agreed-upon custodians on
  16   a rolling basis.
  17          2. Document Productions & Schedule
  18          Since March 29, 2019, Defendants have made numerous productions of
  19   Documents to Plaintiffs, including CBP’s guidance regarding metering or queue
  20   management (the main practice challenged by Plaintiffs in this case), emails from
  21   agreed-upon custodians, organizational charts, records retention schedules,
  22   congressional testimony, budget documents, and A files of the individual Plaintiffs.
  23   Shinners Decl. ¶¶ 33-41.
  24          Defendants have agreed to make rolling productions at least every four weeks
  25   beginning on July 3, 2019. Shinners Decl. ¶ 35. To expedite Plaintiffs’ receipt of
  26   documents, however, Defendants have produced documents even more frequently.
  27   Since July 3, 2019, Defendants have made the following productions:
  28              July 3, 2019: AOL-DEF-00000001 to AOL-DEF-00004217 (non-
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
                                                 24
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   1                confidential documents, including congressional testimony and record
   2                retention schedules);
   3             July 8, 2019:
   4                     o AOL-DEF-00004218 to AOL-DEF-00005290 (A files of
   5                       individual Plaintiffs);
   6                     o DHSALOTRO0000093 to DHSALOTRO00001766 (A files of
   7                       individual Plaintiffs);
   8             July 12, 2019: AOL-DEF-00005291 to AOL-DEF-00010190 (non-
   9                confidential documents, including record retention policies and
  10                schedules);
  11             July 31, 2019: AOL-DEF-00010191 to AOL-DEF-00010894 (emails
  12                from various custodians; documents pertaining to the named Plaintiffs);
  13             August 16, 2019: AOL-DEF-00010895 to AOL-DEF-00011999
  14                (emails from various custodians);
  15             August 28, 2019: AOL-DEF-00012000 to AOL-DEF-00013947
  16                (emails from Todd Hoffman).
  17   Shinners Decl. ¶¶ 36-41.
  18         3. Review Status and Workflow
  19         Responsiveness Review: Based on the large volume of emails subject to
  20   collection in this case, Defendants project that, after the application of agreed-upon
  21   search terms, there may be as many as one million documents that Defendants will
  22   need to review to determine whether they are responsive. See Shinners Decl. ¶ 20,
  23   22 (setting forth total message count and search term hit rates). Accordingly,
  24   Defendants are using a tool called Active Learning, a form of Technology-Assisted
  25   Review, on their Relativity review platform to assist with responsiveness review of
  26   documents from U.S. Customs and Border Protection (CBP) sources. Id. ¶ 31 &
  27   Ex. 1; see also
  28   https://help.relativity.com/9.6/Content/Relativity/Active_Learning/Active_Learnin
                                                                      JOINT MOTION TO COMPEL TIMELY
                                                                           PRODUCTION OF DOCUMENTS
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   1   g.htm. This will allow Defendants to devote less attorney time to identifying
   2   responsive documents and weeding out non-responsive documents, and more
   3   attorney time to reviewing documents for withholding or redaction for privilege
   4   and confidentiality designations, as set forth below.
   5         As set forth in the attached Active Learning Protocol, Defendants intend to
   6   apply the Active Learning model to text-rich CBP documents that hit on agreed-on
   7   search terms, and their family members. Shinners Decl. Ex. 1 (Active Learning
   8   Protocol § II(1)). The Active Learning model uses an iterative training regimen in
   9   which the training set is repeatedly augmented by additional documents that are
  10   manually coded by Subject Matter Experts (SMEs) for responsiveness. (Active
  11   Learning Protocol § I(1). Currently, there are seven SMEs manually coding
  12   documents for responsiveness to train the Active Learning model. Shinners Decl. ¶
  13   31.
  14         This training process continues until the validation process – the Elusion Test
  15   – yields a project-specific target Elusion Rate. Active Learning Protocol § I(6),
  16   III(2). In the Elusion Test, an SME reviews a random, statistically significant sample
  17   of predicted non-responsive documents (that is, documents assigned a relevance
  18   rank by the Active Learning model that falls below a project-specific “Cutoff Rank”)
  19   and manually codes the documents for responsiveness. Active Learning Protocol
  20   §§ I(6), III(2). The Elusion Rate is the percentage of documents that the SME
  21   manually codes as responsive. Active Learning Protocol § I(6), III(2). If the project-
  22   specific target rate is not met, Defendants will continue to manually code documents
  23   to continue to train the model until they meet the target Elusion Rate. Thus, the
  24   Elusion Test may be run several times before it is determined that the training is
  25   complete. Active Learning Protocol § I(6), III(2). Defendants have agreed to share
  26   the results of their elusion testing (the Elusion Rates) with Plaintiffs.
  27         Privilege and Confidentiality Review: After a document is manually coded by
  28   Active Learning SMEs as responsive or is ranked above a particular relevance rank
                                                                    JOINT MOTION TO COMPEL TIMELY
                                                                         PRODUCTION OF DOCUMENTS
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   1   by the Active Learning tool, it must be reviewed for privilege and confidentiality
   2   before it can be produced. To facilitate rolling productions, Defendants are not
   3   waiting for training to be completed in Active Learning before conducting privilege
   4   review. Active Learning Protocol § III(3); Shinners Decl. ¶ 32. Instead, they are
   5   releasing documents manually coded as responsive or ranked as highly relevant for
   6   privilege and confidentiality review. Id. As part of this process, Defendants are now
   7   prioritizing privilege review of documents that meet these criteria and are from any
   8   of Plaintiffs’ recently-identified “priority” custodians. Shinners Decl. ¶ 32.
   9         Confidentiality review entails determining whether the contents of a particular
  10   document warrant a Confidential or Attorneys’ Eyes Only designation under the
  11   Stipulated Confidentiality Order. Protective Order § II.E (ECF No. 276). Privilege
  12   review entails determining whether all or any part of a document is subject to a claim
  13   of privilege, including governmental privileges such as the deliberative process
  14   privilege and the law enforcement privilege. If only part of a document is privileged,
  15   the document cannot be withheld in full and the reviewer will need to make
  16   appropriate redactions. Plaintiffs fail to appreciate the searching inquiry needed for
  17   review. To ensure proper determination and application of a privilege, Defendants’
  18   attorneys must closely consult with others in the agency. As CBP Chief Counsel
  19   Scott Falk explains, privilege and confidentiality review “is a labor-intensive
  20   process.” Falk Declaration ¶ 9. CBP attorneys “generally need to discuss privilege
  21   issues with [their] clients and, in many cases, other governmental agencies.
  22   Discussions with the clients can be especially time-consuming, as it may require
  23   consultation with, for instance, OFO both at the headquarters level and in a field
  24   office, and may also require consultation with other CBP components.”              Id.
  25   Undergirding all of this is the confidential nature of some aspects of immigration
  26   proceedings; many redactions can be anticipated given the amount of protected
  27   information in the documents regarding the processing of aliens who are seeking
  28   asylum. See 8 C.F.R. § 208.6. Thus, privilege review is different from, and a
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   precursor to, creation of a privilege log (which is also time-consuming and labor-
   2   intensive).
   3         Defendants are conducting privilege and confidentiality review on a rolling
   4   basis, but they cannot yet know how many total documents will be subject to
   5   privilege and confidentiality review.         Defendants currently estimate that
   6   approximately one million documents will be subject to responsiveness review.
   7   Assuming one million documents for review and a 20% responsiveness rate, there
   8   will be a total of approximately 200,000 documents for privilege review. Defendant
   9   CBP has a team of approximately 20 attorneys who are engaged in document
  10   discovery in this case, but they are additionally responsible for handling their
  11   regular-full-time workloads . Falk Decl. ¶¶ 3, 12.
  12 D. PLAINTIFFS’ REQUEST TO SET A NOVEMBER 1 DEADLINE IS NOT
  13    REASONABLE IN LIGHT OF THE VOLUMINOUS ESI AT ISSUE.
  14      In light of the volume of documents subject to collection and review in this
  15   case, the Court should decline to adopt Plaintiffs’ proposed November 1 deadline
  16   for substantial completion of document production in response to Plaintiffs’ First
  17   and Second Sets of Requests for Production.
  18         More importantly, Plaintiffs’ proposed timeline is not reasonable because it
  19   does not adequately account for the time needed to collect, process, and review the
  20   volume of ESI at issue. Based on Defendants’ collection to date, the total volume
  21   of email families collected from the 14 agreed-upon custodians is almost 3 million.
  22   Defendants project that as many as one million individual documents will be subject
  23   to review after the application of search terms. Each responsive document and its
  24   family will also need to be reviewed for confidentiality and privilege before it can
  25   be produced to Plaintiffs. Thus, assuming there are one million documents for review
  26   and assuming only 20 percent of the documents reviewed are responsive, there will
  27   be approximately 200,000 documents to review for privilege. Given the nature of
  28   governmental privileges—particularly in the law enforcement context—this is a

                                                                 JOINT MOTION TO COMPEL TIMELY
                                                                      PRODUCTION OF DOCUMENTS
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   1   substantial undertaking. See United States v. NCR Corp., No. 10-C-910, 2012 WL
   2   4955304, at *1 (E.D. Wis. Oct. 17, 2012) (recognizing that responsiveness and
   3   privilege review of hundreds of thousands of documents was a “major, almost
   4   prohibitive, undertaking” for the United States Department of Justice and other
   5   governmental entities); Falk Decl. ¶ 9.
   6         To enable Defendants to devote more attorney time to privilege and
   7   confidentiality review, they are using Active Learning to assist with responsiveness
   8   review and thus lessen the amount of time attorneys will devote to manually
   9   reviewing documents for responsiveness. Even with this projected efficiency gain,
  10   however, given the sheer volume of documents at issue, Defendants do not agree
  11   that a November 1 deadline is possible or reasonable. To process and upload at least
  12   3 million email messages on a document-review platform, use Subject Matter
  13   Experts to train the Active Learning program to identify relevant, responsive
  14   documents from the population of documents that hit upon the agreed search terms,
  15   ensure that CBP and DHS lawyers review for privilege and confidentiality and make
  16   appropriate redactions and/or designations of privileged and/or confidential material
  17   requires a Herculean amount of time and effort.
  18         Plaintiffs fail to appreciate the volume of documents here and make bald,
  19   unsupported assertions that the Government has infinite resources and personnel.
  20   The Government does not have unlimited money and manpower, as Plaintiffs
  21   mistakenly presume.     See Lund v. Affleck, 442 F. Supp. 1109 (D.R.I. 1977)
  22   (recognizing that “government service agencies are not enclaves with unlimited
  23   resources, immune from budgetary strictures with concomitant allocation of
  24   services”). Presently, Defendants estimate that there may be as many as 200,000
  25   total documents, not pages, for privilege and confidentiality review. A single
  26   document could consist of several hundred pages. The length of the document aside,
  27   to review 200,000 documents between August 19 and October 28, 2019, or 60
  28   business days, Defendants would need to review 3,333 documents for privilege a
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   day. This is not reasonable, given that Defendant CBP has a finite staff of attorneys
   2   and finite litigation resources, and its various attorneys have numerous litigation and
   3   operational responsibilities beyond the conduct of document discovery in this case.
   4   Falk Decl. ¶¶ 11-17. These government attorneys cannot devote all of their time to
   5   document review. Further, as Chief Counsel Falk states, CBP’s Office of Chief
   6   Counsel “would be forced to divert a significant number of attorneys and support
   7   personnel from our other mission-critical tasks (including document review for other
   8   significant cases in litigation) to add to the already considerable team we have
   9   working on this case should we be required to complete document discovery on the
  10   timelines [requested by Plaintiffs].” Falk Decl. ¶ 17.
  11          Plaintiffs’ suggested calculations purportedly demonstrating that document
  12   production can be completed before November 1, 2019, supra at 12, are speculative
  13   and unrealistic. Those calculations rely on Defendants’ initial 3400-hour estimate
  14   for privilege review, but Defendants’ 3400-hour estimate was a projection based on
  15   the agreed-upon search terms at that time and the volume information available to
  16   them at that time, as well as an assumed rate of review and responsiveness rate of
  17   20%. See July 8, 2019 Joint Status Conference Statement, at 13. Those calculations
  18   are also based on the supposition that the number of government attorneys
  19   conducting review and the rate of review remain constant, and that these government
  20   attorneys can uninterruptedly conduct document review for eight hours a day every
  21   day.   This ignores the realities of government litigation, as explained above.
  22   Plaintiffs’ calculations also do not account for system or network outages or any
  23   other unanticipated event.     Those calculations also assume, contrary to what
  24   Defendants have advised Plaintiffs and the Court, that all data from all 22 sources
  25   was ready for privilege review starting on July 3.
  26          Thus, given the length of the parties’ initial negotiations over the search
  27   parameters for documents in response to Plaintiffs’ First and Second Sets of
  28   Requests for Production and the sheer volume of documents subject to collection
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   and review, Defendants’ December 20, 2019, date for completion of document
   2   production is reasonable. Indeed, courts have repeatedly recognized that discovery
   3   in complex lawsuits with voluminous discovery takes a substantial amount of time.
   4   E.g., EMC Corp. v. Pure Storage, Inc., 310 F.R.D. 194, 198 (D. Mass. 2015) (noting
   5   in a complex case that the court extended a 14-month fact discovery period by an
   6   additional 4.5 months); Hoffman v. United Tele., Inc., 575 F. Supp. 1463, 1466 (D.
   7   Kan. 1983) (noting that discovery in a non-class action suit took six years to
   8   complete); In re Sinus Buster Products Consumer Litigation, No. 12-DV-24299,
   9   2014 WL 5819921, at *8 (E.D.N.Y. Nov. 10, 2014) (noting that discovery in a class
  10   action lasted over a year with “thousands” of documents being produced); Fetrow
  11   Fix v. Harrah’s Entertainment, Inc., No. 2:10–cv–00560, 2011 WL 6938594, at *3
  12   (D. Nev. Dec. 20, 2011) (extending discovery in a Fair Labor Standards Act class
  13   case from two to nine months given the complexity of class actions);
  14   Communications Workers of America Local 3603 v. BellSouth Telecommunications,
  15   Inc., No. 99-CV-857-WBH, 2000 WL 33321176, *8 (N.D. Ga. Oct. 26, 2000)
  16   (noting that discovery on class certification alone lasted “for close to nine months”);
  17   Sears v. United States, No. C04-2511, 2007 WL 527500, at *4 (W.D. Wash. Feb.
  18   14, 2007) (noting prior extensions of one year to the discovery period due to the
  19   complex nature and voluminous discovery involved in a civil rights case). The Court
  20   should recognize the same here, and decline Plaintiffs’ request to enter a November
  21   1 deadline for substantial completion of document production.
  22         The authority Plaintiffs cite, supra at pp. 10-11 & n.5, does not support their
  23   position that a November 1 deadline is appropriate under the circumstances of this
  24   case. The cases on which they rely do not appear to involve anywhere close to the
  25   projected volume of discovery at issue in this case. In Qualcomm, Inc. v. Apple,
  26   Inc., No. 17cv1375-DMS-MDD, 2019 WL 585352, *1-*2 (S.D. Cal. Feb. 13, 2019),
  27   the Court ordered the plaintiff to produce documents responsive to a single document
  28   request within 14 days, because the plaintiff had failed to provide a date certain to
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
                                                 31
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   1   complete their production. Significantly, the Qualcomm court did not require that
   2   all document discovery be completed in 14 days, and it also stated that the parties
   3   “are empowered to agree to a different date.” Qualcomm, Inc., 2019 WL 585352, at
   4   *2. Qualcomm is thus not instructive here: First, the Court imposed a 14-day
   5   timeline for production in response to one request for production — not numerous
   6   requests for production, as are at issue here. Second, there is no intimation in the
   7   decision to suggest that plaintiff was reviewing hundreds of thousands of documents
   8   to respond to that one request, as is the case for Defendants here. Third, Qualcomm
   9   did not indicate how long the plaintiff had been working on collection and review of
  10   documents in response to that one request. Fourth, Defendants have not refused to
  11   provide a date for completion of discovery, but propose December 20, 2019, which
  12   is reasonable based on the voluminous ESI subject to collection and review.
  13   Qualcomm thus provides no authority for Plaintiffs’ argument that November 1 is a
  14   reasonable deadline to complete document production in this instance.
  15         The remaining cases on which Plaintiffs rely are similarly inapposite. In
  16   Maiorano v. Home Depot USA, Inc., No. 16cv2862-BEN-MDD, 2017 WL 4792380,
  17   at *2 (S.D. Cal. Oct. 10, 2017), as in Qualcomm, the producing party failed to
  18   provide a date certain to complete production of responsive documents, so the
  19   district court imposed a 14-day time period in which to respond to four requests for
  20   production. Conspicuously, the parties in that case apparently did not argue, and the
  21   court did not discuss, what would be a reasonable time period based on the volume
  22   of discovery sought by those four requests. In Obesity Research Institute, LLC v.
  23   Fiber Research International, L.L.C., No 15-cv-0595-BAS-MDD, 2016 WL
  24   9949608, *1-*2 (S.D. Cal. Apr. 5, 2016), the court similarly concluded that a party
  25   which had taken over three months to respond to a subpoena duces tecum and had
  26   refused to name a date certain to complete discovery must complete discovery within
  27   10 days of the date of the order compelling completion. In In re NC Swine Farm
  28   Nuisance Litigation, No. 5:15-CV-00013-BR, 2016 WL 3661266, *2 (E.D.N.C. July
                                                                  JOINT MOTION TO COMPEL TIMELY
                                                                       PRODUCTION OF DOCUMENTS
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   1   1, 2016), there appeared to be voluminous discovery for review, but the producing
   2   party had also already produced a substantial amount of documents in preliminary
   3   discovery and thus agreed to complete its rolling production within 30 days after
   4   serving its responses; the court declined to shorten that proposed production period.
   5   None of these cases support the proposition that 2 months is sufficient time for
   6   Defendants to complete document production in this case.
   7   E.    PLAINTIFFS’ PROPOSED SEPTEMBER 16 DEADLINE IS NOT
   8         FEASIBLE
   9         Plaintiffs’ additional request that the Court set an aggressive interim deadline
  10   for documents from five custodians (Todd Hoffman, Todd Owen, Randy Howe,
  11   Sidney Aki, and Carlos Rodrigues) for the full time period from 2016 to the present
  12   is likewise unreasonable and impossible. It was not until July 30, 2019, that
  13   Plaintiffs stated that they wished to prioritize the production of documents from
  14   these custodians. Shinners Decl. ¶ 56. At that time, Defendants candidly informed
  15   Plaintiffs that Defendants had not yet completed the collection of emails from certain
  16   of these five custodians. Id. ¶ 57. Defendants also expressed concern that they could
  17   not guarantee a substantial production deadline for documents like these custodians’
  18   emails, which are subject to Active Learning, because Defendants do not yet know
  19   when Active Learning training will be complete, nor the volume of documents from
  20   these five custodians that will be subject to privilege and confidentiality review. Id.
  21   ¶ 57. Accordingly, Defendants stated that they could prioritize review of these
  22   custodians’ documents over others, but could not agree to Plaintiffs’ proposed
  23   deadline. Id. ¶¶ 57-58.
  24         Currently, emails from two of these custodians—Todd Hoffman and Randy
  25   Howe—are uploaded to Defendants’ review platform and are currently subject to
  26   review.    Shinners Decl. ¶ 24.        Defendants are prioritizing privilege and
  27   confidentiality review of emails from these two custodians; indeed, Defendants’
  28   August 28 document production consisted primarily of Mr. Hoffman’s emails. Id.

                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   ¶¶ 32, 41. Once the emails from the remaining three “priority” custodians, which
   2   have been collected and are currently being processed, will be uploaded and ready
   3   for review, Defendants will prioritize privilege and confidentiality review of emails
   4   from these three custodians as well. However, given that many of these emails are
   5   still being processed, it is clearly impossible to substantially complete production
   6   from these custodians by mid-September. It is also not possible to complete Active
   7   Learning training, determine the proper relevance rank for the entire Active Learning
   8   project, and conduct privilege and confidentiality review of all emails from these
   9   custodians before September 16, 2019.
  10         Thus, although Defendants are prioritizing, and will continue to prioritize,
  11   review of these five custodians’ documents on a rolling basis, it is simply not feasible
  12   for them to substantially complete production of these custodians’ documents in
  13   September, due to the status of their document collection and processing as well as
  14   the status of training the Active Learning model being used to assist with
  15   responsiveness review. Moreover, Plaintiffs have made no argument as to why they
  16   believe their proposed September 16 deadline is necessary. Accordingly, the Court
  17   should decline to enter the September 16 deadline for completion of document
  18   production from Plaintiffs’ chosen custodians.
  19   F.    PLAINTIFFS WILL NOT BE PREJUDICED BY DEFENDANTS’
             PROPOSED DOCUMENT PRODUCTION TIMELINE
  20
             Moreover, Defendants’ proposed, realistic deadline for substantial completion
  21
       of document production—December 20, 2019—does not prejudice Plaintiffs.
  22
       Plaintiffs’ stated reason for seeking a November 1 deadline is the need to obtain
  23
       documents, litigate discovery disputes, and take depositions in advance of class
  24
       certification expert and briefing deadlines. Supra at p. 1; Order Following Case
  25
       Management Conference and Setting Case Management Dates (ECF No. 246). Yet
  26
       the Court has ordered the parties to confer and amend the current class certification
  27
       briefing and expert deadlines. See Order Following Status Conference (ECF No.
  28

                                                                   JOINT MOTION TO COMPEL TIMELY
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   1   275), at p. 2 (stating that the parties shall file “a joint motion in which they propose
   2   an amended schedule for the filing of plaintiffs’ motion for class certification and
   3   the related discovery deadlines” by August 30, 2019). Rather than push for an
   4   unrealistic document production deadline, Plaintiffs could try to reach an agreement
   5   to a schedule that accommodates Defendants’ December 20, 2019 deadline,
   6   particularly given that Defendants have agreed to interim deadlines for many
   7   categories of documents and have agreed to prioritize privilege and confidentiality
   8   review from Plaintiffs’ five “priority” custodians.13
   9         Further, Defendants are making progress with collection, review, and
  10   production, having made six rolling productions to Plaintiffs between July 3 and
  11   August 28, 2019. Under their rolling production schedule, Defendants will make at
  12   least 2 more document productions before November 1, 2019.14 Defendants have
  13   also agreed to interim deadlines to documents from non-custodial sources. Supra at
  14   p. 1 n. 1. Thus, although Defendants have stated they will substantially complete
  15   their document production by December 20, 2019, they have never indicated that
  16   they will withhold most documents until that date. To the contrary, Defendants have
  17   stated that they will prioritize review of documents from Plaintiffs’ selected
  18

  19
       13
         Meanwhile, Plaintiffs cannot dispute that the government continues to inspect
       and process putative class members who present themselves at land ports of entry
  20
       along the U.S.-Mexico border. “In July, 10,050 people presenting themselves at
  21   ports of entry on the Southwest Border were deemed inadmissible, compared with
       9,459 in the month of June and 11,396 in May. … [CBP Office of Field
  22
       Operations] inadmissibility metrics include: individuals encountered at ports of
  23   entry who are seeking lawful admission into the United States but are determined
       to be inadmissible, individuals presenting themselves to seek humanitarian
  24
       protection under our laws, and individuals who withdraw an application for
  25   admission and return to their countries of origin within a short timeframe.”
       https://www.cbp.gov/newsroom/stats/sw-border-migration (last modified August 8,
  26
       2019).
  27   14
       Defendants are scheduled to produce documents on September 25, 2019, and
  28 October 23, 2019.
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   “priority” custodians and continue to produce these and other documents on a rolling
   2   basis in the meantime. Shinners Decl. ¶¶ 55, 57-58 (setting forth Defendants’ initial
   3   proposed phased production schedule, which set forth particular deadlines for certain
   4   sources, but which emphasized that production from the remaining sources will
   5   “continue on a rolling basis on the previously-agreed four-week intervals”).
   6         In light of these facts, it is not necessary to grant Plaintiffs’ request to set an
   7   aggressive September 16, 2019 deadline for production of documents from their
   8   five, recently-identified “priority” custodians or a November 1, 2019 deadline for
   9   substantial completion of all document production in response to their First, Second,
  10   and Third Sets of Requests for Production.15
  11   G.    CONCLUSION
  12         This Court should decline to enter a deadline for substantial completion of
  13   document production in response to Plaintiffs’ First and Second Requests for
  14   Production at this time, let alone Plaintiffs’ proposed deadlines. Alternatively, the
  15   Court should enter Defendants’ proposed December 20, 2019 deadline.
  16

  17

  18

  19

  20
       15
         The Court should decline to credit Plaintiffs’ characterization of Defendants’
  21   conduct in briefing this matter as “inappropriate.” See supra at p. 15. Defendants
       previewed that they may submit substantive declarations in opposition to a motion
  22   to set a deadline for substantial completion of document production, and submitted
       a declaration from CBP’s Chief Counsel to support the previously-disclosed
  23   factual basis for their opposition. See Shinners Decl. ¶ 50. Defendants’ declaration
       of counsel recounts updated information about email volume, which had in fact
  24   been disclosed to Plaintiffs albeit in a different format, see Shinners Decl. ¶ 22.
       Defendants remain transparent and have endeavored to fully confer with Plaintiffs
  25   on these and other discovery disputes to reach areas of agreement. This Court’s
       rules do not require parties to disclose the identity of their potential declarants in
  26   order to meet and confer completely on the issues underlying a discovery dispute.
       Plaintiffs notably do not argue that prior disclosure of these specific declarations
  27   would have allowed the parties to more fully meet and confer on the issues.
       Instead, Plaintiffs argue to the contrary: that these declarations support the same
  28   factual bases that Defendants have been pointing to throughout the course of this
       action when advocating for a longer document production time period.
                                                                   JOINT MOTION TO COMPEL TIMELY
                                                                        PRODUCTION OF DOCUMENTS
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   1   Dated: August 30, 2019                        MAYER BROWN LLP
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                                                       Matthew H. Marmolejo
   3                                                   Stephen M. Medlock

   4                                                 SOUTHERN POVERTY LAW
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   6                                                   Mary Bauer
                                                       Sarah Rich
   7                                                   Rebecca Cassler
   8                                                 CENTER FOR CONSTITUTIONAL
   9                                                 RIGHTS
                                                       Baher Azmy
  10                                                   Ghita Schwarz
                                                       Angelo Guisado
  11

  12                                                 AMERICAN IMMIGRATION
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  13                                                   Karolina Walters
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  15                                                 By Stephen M. Medlock

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                                                     WILLIAM C. PEACHEY
  21                                                 Director, Office of Immigration
  22                                                 Litigation
                                                     District Court Section
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  24                                                 s/ Katherine J. Shinners
                                                     KATHERINE J. SHINNERS
  25                                                 Senior Litigation Counsel
  26                                                 U.S. Department of Justice
                                                     Civil Division
  27                                                 Office of Immigration Litigation
  28                                                 District Court Section

                                                                 JOINT MOTION TO COMPEL TIMELY
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   1        CERTIFICATE OF COMPLIANCE WITH MEET-AND-CONFER
   2                                   REQUIREMENT
   3         I certify that on July 3, 2019, July 25, 2019, and August 12, 2019 the counsel
   4   for the parties met and conferred via telephone to discuss the dispute raised in this
   5   joint motion. This conference occurred via telephone because counsel were located
   6   in New York and the District of Columbia. The parties were unable to resolve the
   7   dispute presented in this motion.
   8   Dated: August 30, 2019                        MAYER BROWN LLP
   9
                                                     By /s/ Stephen M. Medlock
  10
                                                     Attorney for Plaintiffs
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   1                            CERTIFICATE OF SERVICE
   2        I certify that I caused a copy of the foregoing document to be served on all
   3   counsel via the Court’s CM/ECF system.
   4   Dated: August 30, 2019                        MAYER BROWN LLP
   5

   6                                                 By /s/ Stephen M. Medlock

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